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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11    ANTHONY CRAWFORD,                               Case No. 2:21-cv-02679-FLA (AGRx)
12                              Petitioner,
                                                      JUDGMENT
13                 v.
14
      C. KOENIG, WARDEN,
15
                                Respondent.
16
17
18
19          Pursuant to the Opinion and Order on Petition for Writ of Habeas Corpus,
20    IT IS ADJUDGED that the Petition For Writ of Habeas Corpus is summarily
21    dismissed for lack of subject matter jurisdiction.
22
23    Dated: September 30, 2021
24                                                ______________________________
                                                  FERNANDO L. AENLLE-ROCHA
25
                                                  United States District Judge
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